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                            UNITED STATES BANKRUPTCY COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

                                                 §
  In re:                                         §
                                                 §   Case No. 22-50117
  Activa Resources, LLC and                      §   Case No. 22-50118
  Tiva Resources, LLC,                           §
                                                 §   Chapter 11
           Debtors.                              §
                                                 §   (Joint Administration Requested)
                                                 §

                      DECLARATION OF JOHN HAYES IN SUPPORT
                  OF CHAPTER 11 PETITIONS AND FIRST DAY PLEADINGS

           I, John Hayes, declare, pursuant to 28 U.S.C. § 1746, under penalty of perjury as follows:

           1.     I am the President of Activa Resources, LLC (“Activa”) and Tiva Resources, LLC

  (“Tiva” and together with Activa, the “Debtors”). On February 3, 2022 (the “Petition Date”),

  each of the above-captioned Debtors filed for relief under chapter 11 of title 11 of the United States

  Code (the “Bankruptcy Code”).

           2.     I make this Declaration in support of certain initial motions (collectively, the “First

  Day Motions”) filed in these cases (the “Chapter 11 Cases”), which have been or are to be soon

  filed, including the following:

                  (a) Debtors’ Emergency Motion for Entry of an Order Directing Joint
                      Administration of Chapter 11 Cases  (filed in each case) (“Joint
                      Administration Motion”);

                  (b) Debtors’ Emergency Motion for Entry of an Order (i) Authorizing the Debtors
                      to File a Consolidated List of Creditors, (ii) Authorizing the Debtors to Redact
                      Certain Personal Identification Information for Individual Creditors, and
                      (iii) Approving the Form and Manner of Notifying Creditors of the
                      Commencement of the Chapter 11 Cases and Other Information (the “Creditor
                      List Motion”);

                  (c) Debtors’ Emergency Motion to Extend Time to File Schedules and Statements
                      (“Extension Motion”);



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                 (d) Debtors’ Emergency Motion for Order (i) Authorizing Continued Use of
                     Existing Business Forms and Records; (ii) Authorizing Maintenance of
                     Existing Bank Accounts; and (iii) Waiving Certain U.S. Trustee Requirements
                     (“Cash Management Motion”);

                 (e) Debtors’ Emergency Motion for an Order (i) Prohibiting Utility Companies
                     From Altering or Discontinuing Service on Account of Prepetition Invoices, (ii)
                     Approving Deposit Account as Adequate Assurance of Payment, and
                     (iii) Establishing Procedures for Resolving Requests by Utility Companies for
                     Additional Adequate Assurance of Payment (“Utilities Motion”);

                 (f) Motion of Debtors for Entry of Interim and Final Orders Authorizing Payment
                     of (i) Certain Prepetition Wages and Other Compensation, (ii) Certain Benefits
                     and Confirming Right to Continue Benefits on Postpetition Basis, (iii)
                     Reimbursement to Employees for Prepetition Expenses, (iv) Withholding and
                     Payroll Related Taxes (v) Worker’s Compensation Obligations, and (vi)
                     Prepetition Claims Owing to Administrators and Third Party Providers
                     (“Employee Motion”);

                 (g) Debtors’ Emergency Motion for Interim and Final Orders (I) Authorizing the
                     Debtors to Use Cash Collateral; (II) Granting Adequate Protection; (III)
                     Scheduling A Final Hearing; and (IV) Granting Related Relief (“Cash
                     Collateral Motion”);

                 (h) Emergency Motion of Debtors for Entry of Interim and Final Orders
                     Authorizing the Debtors to Pay Certain Prepetition Claims of Critical Vendors
                     (the “Critical Vendors Motion”);

                 (i) Debtors’ Motion for Entry of Interim and Final Orders Authorizing the Debtors
                     to Pay or Honor Prepetition and Post-Petition Royalty Obligations, Working
                     Interest Obligations and Other Obligations Related to Oil and Gas Leases (the
                     “O&G Obligations Motion”); and

                 (j) Debtors’ Emergency Motion For Entry of an Order Authorizing the Debtors to
                     (I) Continue Insurance Coverage Entered Into Prepetition and Satisfy
                     Prepetition Obligations Related Thereto; (II) Renew, Amend, Supplement,
                     Extend, or Purchase Insurance Policies; (III) Honor the Terms of the Premium
                     Finance Agreement and Pay Premiums Thereunder; (IV) Modify the Automatic
                     Stay With Respect to the Workers’ Compensation Program (the “Insurance
                     Motion”).

  The Debtors may reference this declaration from time to time in support of other motions and

  applications in these Chapter 11 Cases as well.




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  I.       THE DEBTORS’ STRUCTURE AND BUSINESS AND THE REASONS FOR
           FILING CHAPTER 11

           A.    Debtors’ Business and Properties

           3.    Activa is an independent oil and gas company headquartered in San Antonio,

  Texas. Activa was initially formed in 2003. It was converted to a limited partnership for a period

  beginning in 2005 and then was converted back to a limited liability company in 2007 with the

  merger and acquisition of New Tuleta Energy Partners, LLC. At that time, Activa was owned

  solely by Activa Holding Corporation, which was, in turn owned by Activa Resources AG, a

  German company. Then, in 2016, CIC Activa LP acquired a majority stake in Activa. Tiva was

  later formed and capitalized in 2018 and is solely owned by CIC Activa LP.

           4.    The Debtors owns a diversified portfolio of conventional oil and natural gas assets

  located in Texas, Arkansas and Louisiana that have solid production and reserve profiles. The

  Debtors operate certain of their assets and own working interest in other assets.

           5.    The Debtors’ main asset is a working interest in the 16,400 acre OSR-Halliday Unit

  located in Leon and Madison Counties, Texas. The first eight horizontal wells have been drilled

  in the unit and are on production, with additional wells scheduled to be drilled in the near-term.

  The OSR-Halliday Unit has the potential for over 30 million barrels remaining from primary

  production to full development. Moreover, the OSR-Halliday Unit has additional potential for

  other horizons as well. The Debtors’ portfolio is rounded out by additional oil and gas producing

  assets known as the San Miguel Project, Halls Bayou, Pruitt Project, Pill Branch, and Adams

  Ranch.

           B.    Secured Indebtedness

           6.    On August 17, 2007, Activa, as borrower, entered into that certain Credit

  Agreement (as amended from time to time, the “Credit Agreement”, and together with all



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  documents, agreements and instruments executed and delivered therewith and all related

  documents, agreements and instruments, collectively, the “Loan Documents”) with Texas Capital

  Bank, N.A., as lender (the “Lender”). Approximately $10.2 million was due and outstanding

  under the Loan Documents as of the Petition Date (the “Loan”). The Lender asserts that the

  repayment of the Loan is secured by substantially all of the Debtors’ assets.

           7.    As of September 15, 2011, Activa entered into that certain ISDA Master Agreement

  (the “Hedging Agreement”) with Cargill, Inc. (“Cargill”). As of December 27, 2011, Activa,

  Cargill, and the Lender entered into that certain Intercreditor Agreement (the “Intercreditor

  Agreement”) to establish the relative priorities with respect to Activa’s payment of its obligations

  under the Credit Agreement and the Hedging Agreement. Under the Intercreditor Agreement, the

  Lender agreed to act as Collateral Agent (as that term is defined in the Intercreditor Agreement)

  for both Lender and Cargill

           8.    Pursuant to the Twenty-First Amendment to the Credit Agreement, effective as of

  June 13, 2018, and other Loan Documents executed in connection therewith, Tiva agreed to

  guarantee the indebtedness owed by Activa under the Loan Documents.

           C.    Events Leading to Chapter 11 Cases

           9.    Record low oil and gas prices in 2020 during the pandemic created a challenging

  situation for the Debtors in 2021. Production dropped and the Debtors’ liquidity and ability to

  grow production was limited by the significantly reduced oil and gas prices. The low oil and gas

  prices, coupled with tightened credit standards and advance rates, also resulted in a significant

  reduction in the Debtors’ Borrowing Base (as defined in the Credit Agreement) under the Credit

  Agreement with the Lender.




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           10.   As of March 31, 2021, the Debtors and the Lender entered into the Twenty-Fourth

  Amendment to the Credit Agreement (the “Amendment”). Under the Amendment, Activa was

  required to enter into hedges under the Hedging Agreement for the majority of its oil production

  at a time when the average price of oil was $50 per barrel. At the same time, however, industry

  experts were forecasting that the price of oil per barrel would increase to $70 or more dollars per

  barrel in the next three to four months as the economy was recovering from the pandemic. While

  Activa protested the Lender’s requirement that it enter into the hedges, it was unable to persuade

  the Lender. Accordingly, Activa entered into hedges with Cargill at prices ranging from $58 per

  barrel of oil in May 2021 to $54.35/$56.17 per barrel for August 2022. In addition, under the

  Amendment, Activa was required to make monthly capital reduction payments of $150,000 in

  addition to payments of interest of approximately $50,000 per month. The hedges with Cargill

  quickly went negative. The hedge cost Activa more than $70,000 in June 2021 and more than

  $120,000 per month in both October 2021 and January 2022.

           11.   The combination of the hedges, monthly capital reduction payments, and interest

  payments exceeded the net cash flow of the company. In August 2021, management and Activa’s

  Board of Directors determined that continuing to pay the $150,000 in monthly capital reduction,

  the increased payments required under the Hedging Agreement, and the interest payments would

  put Activa at risk of not being able to pay its normal course operating expenses. This could have

  resulted in liens being placed on the Debtors’ properties (and the Lender’s Collateral). While

  recognizing that their options were limited while the hedges with Cargill were in place, the Debtors

  offered and the Lender accepted the Debtors’ offer to continue to pay pre-default interest while the

  Debtors worked on a plan to address the liquidity problems they faced.




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           12.   During the course of 2021, the Debtors paid monthly capital reduction payments

  estimated at $972,000, $647,000 in estimated hedge payments to Cargill and $511,00 in

  interest. Activa continued to pay its vendors in the normal course of business on a 30-60-day

  schedule through December 2021.

           13.   However, at the end of January 2022, the Lender swept Activa’s operating accounts

  and put a hold on the joint interest account. This action severely limited the Debtors’ ability to

  continue the normal course of business. At the same time, the Debtors’ received joint interest

  billings from one of their operators that was more than $200,000 greater than budgeted. Both of

  these events created a liquidity crisis for the Debtors that necessitated the filing of the Chapter 11

  Cases to protect the Debtors’ business as a going concern for the benefit of the Debtors’ creditors

  and other stakeholders.

           D.    The Debtors’ Intentions in Chapter 11

           14.   The Debtors and their management continue to evaluate the companies’ options in

  chapter 11, and reserve all their rights in this regard. However, at this time, and in general, the

  Debtors intend to consummate a reorganization plan which would restructure and / or relieve all

  or part of the $10.2 million Loan asserted by the Lender, resolves the Debtors’ obligations under

  the Hedging Agreement, and otherwise reorganizes the financial affairs of the companies. The

  Debtors are further considering the sale of certain assets in bankruptcy to support the

  reorganization efforts.

  II.      FIRST DAY PLEADINGS

           15.   In connection with the filing of their Chapter 11 Cases, the Debtors seek approval

  of the First Day Motions and related orders (the “Proposed Orders”). The Debtors respectfully




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  request that the Court enter each of the Proposed Orders as they are critical to the Debtors’

  successful reorganization in these Chapter 11 Cases.

           16.   I have reviewed each of the First Day Motions, Proposed Orders, and exhibits

  thereto (or have otherwise had their contents explained to me), and the facts set forth therein are

  true and correct to the best of my knowledge, information, and belief. Moreover, I believe that the

  relief sought in each of the First Day Motions (a) is vital to enabling the Debtors to make the

  transition to, and operate in, chapter 11 with minimum interruptions and disruptions to their

  business or loss of productivity or value; and (b) constitutes a critical element in the Debtors’

  ability to successfully maximize value for the benefit of their estates.

           A.    Joint Administration Motion

           17.   The Debtors’ intended restructuring in these cases will involve claims and/or

  interests asserted against both Debtors. Further, the management of the Debtors consists of the

  same individuals. In light of these and other factors, I anticipate that each of the Debtors will seek

  similar or closely-related relief from this Court during the Chapter 11 Cases. I also believe that

  most parties-in-interest will desire to receive information about the companies generally during

  these Chapter 11 Cases, rather than just the information concerning one of the Debtors.

           18.   I am informed that joint administration of the Debtors’ cases will greatly facilitate

  the filing of pleadings in these cases, helping the Debtors and other parties-in-interest to avoid

  unnecessary effort in filing duplicate (or nearly duplicate) pleadings in each case separately.

  Instead, I understand that joint administration will permit a filing in just one of the cases to address

  issues in each of the Chapter 11 Cases. Such a procedure would not only be more efficient, but

  will assist the Court and all parties-in-interest in achieving and maintaining a “global” view of

  matters involving the companies. Especially because I understand that joint administration does




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  not affect the substantive rights of the Debtors, their estates or any other parties-in-interest, I can

  see only benefits – and likely great savings of judicial resources and Debtor and stakeholder time

  and money – realized from this relief.

           B.    Creditor List Motion

           19.   As set forth in the Creditor List Motion, the Debtors seek entry of an order:

  (a) authorizing the Debtors to file a consolidated creditor matrix in lieu of submitting separate

  mailing matrices for each Debtor, (b) authorizing the Debtors to redact certain personal

  identification information for individual creditors, and (c) approving the form and manner of notice

  of commencement of these Chapter 11 Cases and the scheduling of the meeting of creditors under

  section 341 of the Bankruptcy Code.

           20.   Although I understand the list of creditors is usually filed on a debtor-by-debtor

  basis, here, the preparation of separate lists of creditors for each Debtor would be expensive, time

  consuming, administratively burdensome, and of little incremental benefit. Finally, the Debtors

  respectfully submit that cause exists to authorize the Debtors to redact address information of

  individual creditors—several of whom are the Debtors’ employees—from the Creditor Matrix

  because such information could be used to perpetrate identity theft.

           21.   Additionally, through the Debtors’ proposed noticing and balloting agent, the

  Debtors propose to serve the Notice of Commencement, on all parties entitled to notice of

  commencement of the Chapter 11 Cases to advise them of the meeting of creditors under section

  341 of the Bankruptcy Code and of the bar date for filing proofs of claims. Service of the single

  Notice of Commencement will not only avoid confusion among creditors, but will prevent the

  Debtors’ estates from incurring unnecessary costs associated with serving multiple notices to the

  parties listed on the Debtors’ voluminous creditor matrix.




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           C.     Extension Motion

           22.    By the Extension Motion, Debtors seek entry of an order extending the deadline by

  which the Debtors must file their schedules of assets and liabilities, schedules of current income

  and expenditures, schedules of executory contracts and unexpired leases, and statements of

  financial affairs (collectively, the “Schedules and Statements”) by 14 days, for a total of 28 days

  from the Petition Date, without prejudice to the Debtors’ ability to request additional extensions

  for cause shown.

           23.    The time leading up to the filing of the Chapter 11 Cases has been stressful for the

  Debtors’ management and the operation of the business. While I understand that providing

  complete information on the Debtors, as required by bankruptcy law and rules, is important, and

  the Debtors’ management desires to provide such information, I am also certain that stabilizing

  the Debtors’ business in the immediate post-filing period will help preserve and maximize value

  of these estates.

           24.    For these reasons, I believe that the Court should grant the Debtors’ Extension

  Motion. With extra time to prepare the Schedules and Statements, the Debtors’ management will

  not only have the best ability to assure the greatest possible accuracy and completeness of the

  information that is provided, but we will also have the additional “breathing room” to address any

  challenges to operations that the bankruptcy filings trigger. Thus, additional time will help us to

  preserve value in the Debtors.

           25.    Granting the Extension Motion will not, however, prejudice any creditors or other

  parties-in-interest. I understand that the additional time that the Debtors are requesting to file

  Schedules and Statements is typical of such requests, as often granted by this Court. In addition,

  I can assure the Court that the Debtors are prepared to respond to any appropriate information




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   requests that the Debtors may receive from any parties-in-interest in the meantime, should there

   be urgency to receive such information before it would become available in the Debtors’ Schedules

   and Statements.

            D.    Cash Management Motion

            26.   By the Cash Management Motion, the Debtors seek entry of an order (i) authorizing

   the Debtors to utilize their cash management system to the extent described in the Motion, (ii)

   authorizing the Debtors to maintain the Bank Accounts (defined below) for a period of four weeks

   following the Petition Date; (iii) authorizing the Debtors to continue using their existing business

   forms and records; and (iv) granting the Debtors a waiver of certain bank account and related

   requirements of (a) the Office of the United States Trustee for the Western District of Texas (the

   “U.S. Trustee”) set forth in the Region 7 Guidelines for Debtors-in-Possession (the

   “Guidelines”), and (b) section 345(b) of the Bankruptcy Code to the extent that such requirements

   are inconsistent with any action taken by the Debtors in accordance with any order granting the

   Cash Management Motion or any other order entered in the Chapter 11 Cases.

            27.   In the ordinary course of their business, the Debtors utilize a cash management

   system (the “Cash Management System”), which allows the Debtors to collect, transfer, and

   disburse funds generated from their operations and to facilitate cash monitoring and reporting.

                  i.      Bank Accounts and Intercompany Transfers

            28.   The Debtors currently maintain six (6) bank accounts (collectively, the “Bank

   Accounts”) as follows:


    Account Holder           Bank                     Account Number           Account Type

    Activa                   Susser Bank              XXX1931                  Checking account for
                                                                               operations




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    Activa                   Susser Bank              XXXXXX0363               Interest bearing
                                                                               money market
                                                                               account

    Activa                   Texas Capital            XXXXXX6581               Checking account for
                                                                               operations

    Activa                   Texas Capital            XXXXXX2340               Joint operating
                                                                               account for revenue
                                                                               production payments

    Activa                   Texas Capital            XXXXXX5854               Interest bearing
                                                                               money market
                                                                               account

    Tiva                     Texas Capital            XXXXXX7393               Checking account for
                                                                               operations

            29.   Activa’s checking account for operations at Texas Capital Bank, N.A. (“Texas

   Capital”) has historically been used to pay most of the Debtors’ operating expenses, including

   payroll, utilities and expenses relating to the Debtors’ operations. Activa’s joint operating account

   at Texas Capital has generally been used to segregate funds that Activa is holding for the benefit

   of others, including, for example, working interest owners in wells operated by Activa that need

   to be disbursed. Activa’s money market account at Texas Capital has historically held any excess

   funds beyond the Debtors’ working capital needs. Funds in the money market account are invested

   only in highly liquid assets with high credit ratings (equivalent to the United States Government

   or above) and have short-term maturity period of no more than 12 months. Funds held in the

   money market account are generally available for daily settlement.

            30.   Tiva’s checking account at Texas Capital is available to funds Tiva’s cash needs.

            31.   The accounts at Texas Capital were utilized from the Debtors’ inception. However,

   as the Debtors began to make preparations for transitioning into Chapter 11 and were unable to

   remain current on the indebtedness owed to Texas Capital, they made the decision to open new




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   accounts at Susser Bank (with Texas Capital, the “Debtors’ Banks”). Activa’s operating account

   at Susser Bank has more recently been used to pay for the Debtors’ ongoing general and

   administrative operating expenses.

            32.   The Debtors intend to open new bank accounts at a U.S. Trustee approved

   depository (the “New Accounts”) that will replicate their Cash Management System at Texas

   Capital. However, the Debtors request permission to continue to use the Bank Accounts for a

   period of four weeks from the Petition Date to ensure a smooth transition of their Cash

   Management System with minimal disruption, to otherwise facilitate the payment of approved

   expenses pursuant to order of the Court on this and other initial “first day” motions, and to ensure

   that there is no distribution in the Debtors’ ability to collect revenues that would otherwise be

   wired into the Bank Accounts.

                  ii.     Business Forms

            33.   As part of the Cash Management System, the Debtors utilize numerous preprinted

   business forms (the “Business Forms”) in the ordinary course of their business. The Debtors also

   maintain books and records to document, among other things, their profits and expenses. To

   minimize expenses to their estates and avoid confusion on the part of customers, vendors, and

   suppliers during the pendency of these Chapter 11 Cases, the Debtors request that the Court

   authorize their continued use of all correspondence and Business Forms (including, without

   limitation, letterhead, purchase orders, and invoices) as such forms were in existence immediately

   before the Petition Date, without reference to the Debtors’ status as debtors in possession, rather

   than requiring the Debtors to incur the expense and delay of ordering entirely new Business Forms

   as required under the U.S. Trustee Guidelines. Once the current business forms are exhausted, any




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   new Business Forms ordered by the Debtors will include the “Debtor-in-Possession” designation

   and the case number.

            E.    Utilities Motion

            34.   I understand that bankruptcy law provides utilities with certain protections during

   a chapter 11 case which are in addition to those rights of other creditors and service providers. A

   failure to establish the parameters of these protections early in a bankruptcy case, I am told, can

   jeopardize the debtor’s access to utility service.

            35.   The Debtors purchase electricity, telephone, internet, and related services from

   vendors that I am told could be considered utilities for bankruptcy purposes. It would be very

   problematic for the continued operation of the Debtors’ business if any of these services were cut

   off. For this reason, the Utilities Motion requests the Court to fix the terms of any protection

   afforded to the utility providers of the Debtors during the Chapter 11 Cases. The intention of the

   Utilities Motion is to fulfill the Debtors’ legal obligations to these utility providers while at the

   same time avoiding any unpredicted, abrupt interruptions of their services which could severely

   damage the Debtors’ business. The Debtors incur approximately $3,500 in costs to utility

   providers per month and are proposing allocating $2,000 into a designated sub-account for the

   adequate protection of the utility providers during the pendency of Chapter 11 Cases

            36.   I believe it critical that the Debtors know from the very beginning of these cases

   the terms they must fulfill in order to assure that their telephone, internet, online and related

   services continue uninterrupted. I have read the Utilities Motion and confirm that the facts set

   forth therein are true and accurate.

            F.    Employee Motion

            37.   By the Employee Motion, the Debtors seek entry of an order authorizing, but not




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   directing, the Debtors to (i) pay accrued prepetition wages, salaries, and other compensation to

   their Employees (as defined below); (ii) honor any prepetition obligations in respect of, and

   continue in the ordinary course of business until further notice (but not assume), Employee benefits

   plans and programs, as described below; (iii) reimburse Employees for prepetition expenses that

   Employees incurred on behalf of the Debtors in the ordinary course of business on a prepetition

   basis, provided such reimbursement is below the statutory priority amount; (iv) pay all related

   prepetition payroll taxes and other deductions; (v) honor worker’s compensation obligations and

   related obligations, if any; and (vi) pay any prepetition claims of administrators and providers in

   the ordinary course of business to the extent that any of the foregoing programs are administered,

   insured, or paid through a third-party administrator or provider.

                  i       Debtors’ Employees

            38.   In connection with the operation of their business, the Debtors currently have six

   full-time employees (collectively, the “Employees”). None of the Employees are represented by

   a union or a collective bargaining unit.

            39.   The Employees perform a wide variety of functions critical to the administration of

   these Chapter 11 Cases and the Debtors’ restructuring. Their skills, knowledge, and understanding

   of the Debtors’ operations and infrastructure are essential to preserving operational stability and

   efficiency. In many instances, the Employees include highly trained personnel who are not easily

   replaced. Without the continued, uninterrupted services of their Employees, the Debtors’

   restructuring efforts will be halted. If the Debtors cannot assure their Employees that they will

   promptly pay prepetition Employee Obligations (as defined below) to the extent allowed under the

   Bankruptcy Code, and continue to honor, as applicable, the Benefits Obligations (as defined

   below), certain Employees will likely seek employment elsewhere. The loss of Employees at this




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   critical juncture would have a material adverse impact on the Debtors’ business and ability to

   maximize value through these Chapter 11 Cases.

            40.   Moreover, most of the Debtors’ Employees rely exclusively on their compensation

   and benefits from the Debtors to pay their daily living expenses and to support their families. Thus,

   Employees will be exposed to significant financial hardships if the Debtors are not permitted to

   continue to pay, as applicable, their compensation, provide benefits, and maintain existing

   programs. Consequently, the relief requested is necessary and appropriate.

                  ii      Employee Compensation

            41.   In the ordinary course of business, the Debtors incur payroll and other

   compensation obligations for their Employees. These obligations are described in more detail

   below.

                          (a)     Employee Compensation Obligations

            42.   In the ordinary course of business, the Debtors pay their Employees on a semi-

   monthly basis, on the 5th and 20th of the month. Payroll is drawn from the Debtors’ operating

   account the day before it is disbursed. The Debtors average payroll obligation per cycle is

   approximately $35,000. The last payroll date before the Petition Date was January 31,2022, which

   covered the payroll period from January 16, 2022 through January 31, 2022. The Debtors estimate

   that as of the Petition Date, approximately $5,000 has accrued and remains unpaid (the “Employee

   Compensation Obligations”), representing the prorated portion of the Employee compensation

   due for the period from February 1, 2022 through the Petition Date. To the best of the Debtors’

   understanding, none of the Employees are owed more than $13,650 in accrued and unpaid general

   prepetition wages or salaries. The Debtors seek authorization, but not direction, to pay any unpaid

   Employee Compensation Obligations. In addition, the Debtors seek authority to cause any




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   prepetition checks or electronic payment requests that were given in payment of Employee

   Compensation Obligations to be honored and to reissue any check or electronic payment request

   that is not cleared by the applicable bank or other financial institution, to the extent necessary.

                          (b)     Administrative Fee Obligations

            43.   The Debtors use a third-party processor, ADP, to process their payroll. The

   ongoing services of ADP are imperative to the smooth functioning of the Debtors’ payroll system.

   While the Debtors do not believe that any outstanding obligations are owed to ADP as of the

   Petition Date, the Debtors seek authorization, but not direction, to pay any such fees to the extent

   it is determined that a balance is owed (the “Administrative Fee Obligations”) and to continue

   paying the Administrative Fee Obligations postpetition in the ordinary course of business. In

   addition, the Debtors seek authority to cause any prepetition checks or electronic payment requests

   that were given in payment of Administrative Fee Obligations to be honored and to reissue any

   check or electronic payment request that is not cleared by the applicable bank or other financial

   institution, to the extent necessary.

                          (c)     Withholding Obligations

            44.   For each applicable pay period, the Debtors may need to deduct certain amounts

   directly from Employees’ paychecks, including, without limitation, pre- and after-tax deductions

   payable pursuant to policies and arrangements with certain Employees as well as legally-ordered

   deductions, and other miscellaneous deductions (collectively, the “Deductions”).

            45.   In connection with the compensation paid to Employees, the Debtors are required

   by law to withhold amounts related to federal, state, and local income taxes, as well as social

   security, unemployment and Medicare taxes (collectively, the “Employee Withholding Taxes”)

   and to remit the same to the applicable taxing authorities. In addition, the Debtors are required to




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   make matching payments from their own funds for, among other things, social security and

   Medicare taxes and to pay, based on a percentage of gross payroll, state, and federal unemployment

   insurance, employment training taxes, and state disability insurance contributions (the “Employer

   Payroll Tax Obligations,” and together with Employee Withholding Taxes, the “Payroll Tax

   Obligations”). Each pay cycle, the Debtors withhold any applicable Employee Withholding

   Taxes from the Employees’ wages, and remit, in conjunction with ADP, the same to the applicable

   taxing authorities.

            46.   The Debtors seek authorization, but not direction, to continue to make the

   Deductions and to satisfy the Payroll Tax Obligations (collectively, the “Withholding

   Obligations” and with Employee Compensation Obligations and Administrative Fee Obligations,

   the “Employee Obligations”) and to remit amounts withheld on behalf of third parties postpetition

   in the ordinary course of business.

                  ii.     Employee Benefits

            47.   In the ordinary course of business, the Debtors implement various benefits plans

   and policies for their Employees that can be divided into the following categories, all as are

   described in more detail below: (a) medical coverage (the “Medical Plan”) and dental coverage

   (the “Dental Plan” and, with the Medical Plan, the “Health Plans”); (b) Debtor paid SEP-IRA

   (the “IRA Plan”); (c) workers compensation insurance (the “Workers Compensation

   Program”); and (d) paid and unpaid leave (“Leave Policies” and collectively with the Health

   Plans, IRA Plan and Workers Compensation Program, the “Benefits Plans”). All obligations with

   respect to the Benefits Plans are hereinafter referred to as the “Benefits Obligations.”




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                         (a)     Health Plans

            48.   The Debtors believe that it is necessary and appropriate to continue to honor their

   obligations to Employees under the Health Plans. The Debtors request authority, but not direction,

   to pay all prepetition amounts due under the Health Plans. The Debtors also request authority, but

   not direction, to continue to offer the Health Plans and honor their obligations thereunder in the

   ordinary course of business during the administration of these Chapter 11 Cases. Except as set

   forth below, as of the Petition Date, the Debtors believe they are current on all premium payments

   in connection with the Health Plans.

            49.   Medical Plan. The Debtors offer their Employees health insurance through a Blue

   Cross Blue Shield (“BCBS”) high deductible plan. The monthly premium to BCBS is $9,451.10.

   As of the Petition Date, the Debtors may owe the monthly advance payment to BCBS. In addition,

   the Debtors also have a Medical Expense Reimbursement Plan (“MERP”), which allows

   Employees to recoup part of their deductible and to put their funds into a HSA or FSA plan. Under

   the MERP, (i) Activa covers the first $500 for each person covered under the BCBS plan, (ii)

   Activa then pays 50% of additional medical costs up to the BCBS deductible ($6,900/individual

   and $15,000/family), and (iii) BCBS pays 100% of medical costs after the applicable Employee’s

   deductible is met. Activa pays $4,000 per month to Diversified Employee Benefit Services, LLC,

   the third-party administrator of the MERP to fund the MERP.

            50.   Dental Plan. The Debtors offer their Employees dental insurance through a self-

   insured plan whereby the Debtors cover (i) 100% of the first $250 in dental expenses, (ii) 75% of

   the next $1,000 in dental expenses, and (iii) 50% of the next $2,000 in dental expenses. The total

   annual maximum benefit per individual is $2,000.




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                          (b)    IRA Plan

            51.   The Debtors also maintain an IRA Plan whereby the Debtors provide a defined

   contribution of 10% of an Employee’s salary into a SEP-IRA account. The Debtors estimate that

   the IRA Plan costs approximately $72,000 annually. There is an accrued balance of $188,807

   owed to Employees under the IRA Plan as of December 31, 2021 from a period when the price of

   oil had decreased to approximately $20 per barrel. The Debtors do not seek to pay such accrued

   amounts pursuant to this Motion, but instead to continue the IRA Plan in the ordinary course of

   business on a postpetition basis and consistent with past practice.

                          (c)    Workers’ Compensation Program

            52.   The Debtors maintain workers’ compensation insurance for their Employees at the

   statutorily required level for each state in which the Debtors operate. The Debtors maintain

   workers’ compensation coverage (“Workers’ Compensation Insurance”) for claims (“Workers’

   Compensation Claims”) through Texas Mutual Worker’s Compensation Insurance. The Debtors

   pay approximately $1,230.00 a year to maintain the Workers’ Compensation Insurance. The

   Debtors seek authority, but not direction, to pay any premiums under the Workers’ Compensation

   Insurance when they become due.

                          (d)    Leave Policies

            53.   The Debtors maintain a paid leave benefit programs for Employees, providing paid

   leave for an annual vacation allotment and sick leave (“Paid Leave”). Paid Leave for the year

   accrues on January 1, but unused Paid Leave is not paid out upon termination of Employees and

   does not rollover each calendar year. Employees accrue Paid Leave depending on their tenure.

   Similar to other programs described in this motion, Paid Leave is an integral benefit that the

   Debtors offer to the Employees, and will help maintain employee morale and protect employee




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   expectations. Accordingly, the Debtors seek authority, but not direction, to pay their Employees

   any accrued Paid Leave in the ordinary course of business and consistent with past practice, and

   to continue paying Paid Leave to their Employees in the ordinary course of business on a

   postpetition basis and consistent with past practice.

            54.   The Debtors also have a leave of absence policy (the “Leave of Absence Policy”

   and with Paid Leave, the “Leave Policies”) in place for work absences related to family and

   medical leave (“FMLA”). Eligible Employees are entitled up to twelve workweeks of unpaid

   leave each year under the Leave of Absence Policy. Employees taking a leave of absence maintain

   their benefits under the Health Plans and return to the same or equivalent jobs upon returning to

   work. The Debtors seek authority, but not direction, to continue their Leave of Absence Policy in

   the ordinary course of business on a postpetition basis and consistent with past practice.

                  iii.    Reimbursable Expense Obligations

            55.   Prior to the Petition Date, in the ordinary course of business, the Debtors

   reimbursed certain Employees for reasonable and legitimate expenses incurred on behalf of the

   Debtors in the scope of the Employee’s employment (“Reimbursable Expense Obligations”).

   Reimbursable Expense Obligations typically include expenses for, among other things, travel,

   mileage, food, beverage, cell phone and certain other business and travel related expenses. All

   such expenses are incurred with the applicable Employee’s understanding that he or she will be

   reimbursed by the Debtors in accordance with the Debtors’ reimbursement policy, as described in

   more detail below. In all cases, reimbursement is contingent on the Debtors’ determination that

   the charges are for legitimate business expenses.

            56.   The Debtors process expense and reimbursement claims on a rolling basis. As such,

   it is difficult for the Debtors to determine the exact amount of Reimbursable Expense Obligations




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   outstanding as of the Petition Date because, among other things, Employees may have expenses

   that they have yet to submit to the Debtors for reimbursement. However, on or about the Petition

   Date, the Debtors estimate that they may owe approximately $2,000.00 in Reimbursable Expense

   Obligations to three Employees

            57.   The Reimbursable Expense Obligations are ordinary course expenses that the

   Debtors’ Employees incur in performing their job functions. It is essential to the continued

   operation of the Debtors’ business that the Debtors be permitted to continue reimbursing, or

   making direct payments on behalf of, Employees for such expenses.

            58.   Employees incurred the Reimbursable Expense Obligations as business expenses

   on the Debtors’ behalf and with the understanding that they would be reimbursed. To avoid

   harming Employees who incurred the Reimbursable Expense Obligations, the Debtors request

   authority, but not direction, to satisfy all prepetition Reimbursable Expense Obligations to the

   extent Employees have paid for such expenses directly from their own funds or are otherwise

   personally liable for such expenses, but only up to $13,650, less any other payments those

   Employees may receive as a result of the relief requested in this Motion. The Debtors also seek

   authority to continue their reimbursement policy, and to satisfy any prepetition amounts due in

   connection therewith, in the ordinary course of business during the administration of these Chapter

   11 Cases.

            59.   The Debtors’ ability to successfully operate is contingent on reliable and loyal

   Employees. As stated above, many of the Debtors’ Employees are highly trained personnel that

   are familiar with the Debtors and their operations and would be difficult to replace. Thus, it is

   essential to assure the Employees that the Debtors will honor the Employee Obligations and

   continue and maintain the Employee Benefits in the ordinary course of business throughout these




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   Chapter 11 Cases. A failure to promptly do so will create concern and discontent among the

   Employees and could lead to resignations. The loss of even a few key personnel, especially given

   that the Debtors only have six Employees, would immediately and irreparably harm the Debtors’

   ability to maintain operations to the detriment of all interested parties. Accordingly, the Debtors

   respectfully request that the Court grant the Employee Motion.

              G.       Cash Collateral Motion

              60.      As discussed above, the Debtors are obligated on a $10.2 million Loan to the

   Lender. The Lender has asserted valid, perfected secured claims, as I understand is those terms

   are defined in section 101 of the Bankruptcy Code, against the Debtors, which the Lender asserts

   are secured by first-priority valid and perfected liens1 on, inter alia, all of Debtors’ right, title,

   present and future interest in the Collateral, as that term is defined in the Loan Documents. The

   Lender asserts that its Collateral, together with the proceeds and revenues thereof, includes cash

   collateral as that term is defined in section 363(a) of the Bankruptcy Code (the “Cash Collateral”).

              61.      Here, the Debtors intend to use the Cash Collateral, in accordance with the initial

   13-week budget attached as Exhibit I (the “Budget”) to the interim proposed order to (1) pay for

   working capital and general corporate purposes, (2) make essential payments to critical vendors

   and related to the Debtors’ oil and natural gas assets, and (3) pay related transaction, costs, fees

   and expenses of the Chapter 11 Cases. The Debtors are committed to adhering to the Budget,

   subject to a permitted variance of 15%, unless the Lender otherwise agrees.

              62.      Given the circumstances under which the Debtors have filed these cases, the

   Debtors have not yet been able to confer with the Lender regarding proposed adequate protection




   1
       Subject only to any statutory liens for ad valorem taxes.




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   for the use of Cash Collateral. However, the Debtors submit that, consistent with the purposes

   underlying the provision of adequate protection, the proposed Interim Order field with the Cash

   Collateral Motion provides the Lender with more than sufficient provisions to protect it from any

   diminution in value of its valid, perfected, and unavoidable security interests in the Collateral

   during the pendency of these chapter 11 cases. This includes: (a) replacement liens in all of

   Debtors’ currently owned or hereafter acquired property and assets to the extent of any decrease

   in value of the Collateral, including Cash Collateral, as a result of the Debtors’ post-petition use

   of the Collateral and the imposition of the automatic stay; (b) adequate protection payments in the

   amount of $46,750 per month as provided in the Order; and (c) an allowed super-priority

   administrative claim, with priority in payment over any and all administrative expenses arising

   under Bankruptcy Code sections 503(b) and/or 507(a), to the extent that all other adequate

   protection provided by any order approving the use of Cash Collateral fails; provided however that

   the adequate protection is subject and subordinate to a carve out for payment of certain fees that I

   understand will be owed to the U.S. Trustee as well as fees owed to the Debtors’ professionals,

   and does not include any liens on causes of action that I understand the Debtors may be able to

   bring under the Bankruptcy Code.

            63.   The Debtors have a critical need to obtain and use cash in order to continue the

   operation of their business. Without such funds, the Debtors will not be able to pay post-petition

   direct operating expenses and obtain goods and services needed to carry on their business in a

   manner that will avoid irreparable harm to the Debtors’ estates. The ability of the Debtors to use

   cash collateral at this time is necessary to prevent immediate and irreparable harm and to preserve

   and maintain the going concern value of the Debtors’ estates. Accordingly, I respectfully submit

   on behalf of the Debtors that the Cash Collateral should be granted.




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            H.    Critical Vendor Motion

            64.   In advance of filing the Chapter 11 Cases, the Debtors spent time reviewing and

   analyzing their books and records, to identify certain critical business relationships and/or

   suppliers of goods and services—the loss of which would materially impair the going-concern

   viability of the Debtors’ business. In this process, the Debtors considered a variety of factors,

   including: whether a vendor is a sole- or limited-source for goods or services critical to the

   Debtors’ business operations;

                      •   whether alternative vendors are available that can provide requisite volumes
                          of similar goods or services on equal (or better) terms and, if so, whether
                          the Debtors would be able to continue operating while transitioning
                          business thereto;

                      •   the degree to which replacement costs (including pricing, transition
                          expenses, professional fees, and lost sales or future revenue) exceed the
                          amount of a vendor’s prepetition claim;

                      •   whether an agreement exists by which the Debtors could compel a vendor
                          to continue performing on prepetition terms;

                      •   whether certain specifications or contract requirements prevent, directly or
                          indirectly, the Debtors from obtaining goods or services from alternative
                          sources;

                      •   whether failure to pay all or part of a particular vendor’s claim could cause
                          the vendor to refuse to provide critical services on a postpetition basis;

                      •   whether the Debtors’ inability to pay all or part of the vendor’s prepetition
                          claim could trigger financial distress for the applicable vendor; and

                      •   whether failure to pay a particular vendor could result in contraction of trade
                          terms as a matter of applicable non-bankruptcy law or regulation.

            65.   As a result of this analysis the Debtors have identified counterparties, set forth on

   Exhibit C attached to the Critical Vendor Motion (the “Critical Vendors”).

            66.   At this time, the Debtors estimate that the Critical Vendors may hold claims in

   excess of approximately $125,000 that may not be entitled to administrative or other priority status



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   under section 503(b)(9) of the Bankruptcy Code, and $55,000 of which are due on an interim basis

   (the “Critical Vendor Claims”). By the Critical Vendor Motion, the Debtors seek authority to

   pay the Critical Vendor Claims.

            67.   In return for paying the Critical Vendor Claims, the Debtors will use commercially

   reasonable efforts to require the applicable Critical Vendor to provide favorable trade terms in line

   with historical practice for the postpetition delivery of goods and services or otherwise continue

   supplying the Debtors with essential goods and services for the duration of these Chapter 11 Cases.

   The Debtors therefore request authority to condition payment upon such party’s written agreement

   to continue supplying goods or services to the Debtors for the duration of these Chapter 11 Cases

   in accordance with trade terms at least as favorable to the Debtors as those practices and programs

   in place prior to the Petition Date (collectively, the “Customary Trade Terms”).

            68.   And, if any party accepts payment pursuant to the relief requested by the Critical

   Vendor Motion and thereafter does not continue to provide goods or services on Customary Trade

   Terms, then, subject to such party’s right to object as set forth in the proposed Final Order attached

   as Exhibit B to the Critical Vendor Motion: (a) such payment may be deemed to be an improper

   postpetition transfer on account of a prepetition claim, and therefore, immediately recoverable by

   the Debtors in cash upon written request; (b) upon recovery by the Debtors, any prepetition claim

   of such party shall be reinstated as if the payment had not been made; and (c) if there exists an

   outstanding postpetition balance due from the Debtors to such party, the Debtors may elect to

   recharacterize and apply any payment made pursuant to the relief requested by the Critical Vendor

   Motion to such outstanding postpetition balance and such supplier or vendor will be required to

   repay to the Debtors such paid amounts that exceed the postpetition obligations then outstanding

   without the right of any setoffs, claims, provisions for payment of any claims, or otherwise.




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            69.   The Debtors submit that the requested relief will allow the Debtors to preserve

   stakeholder value by paying the prepetition claims of certain counterparties that are critical to the

   Debtors’ business enterprise. Furthermore, to the extent that the Debtors determine that any

   additional parties qualify for Critical Vendor status, or that the Critical Vendor amounts set forth

   on Exhibit C must be supplemented or amended, the Debtors will supplement this pleading with

   the identities and amounts of claims held by any such parties pursuant to the terms of the Critical

   Vendor Motion. Accordingly, the Debtors request that the Court grant the Critical Vendor Motion.

            I.    O&G Obligations Motion

            70.   As described above, the Debtors own interests in certain oil and gas producing

   properties in Texas, Louisiana and Arkansas (collectively, the “Leases”). Pursuant to these Leases

   and related agreements, the Debtors are obligated to remit to the lessors (collectively, the “Royalty

   Interest Owners”) their share of the proceeds from the sale of hydrocarbons from producing wells

   located on the properties subject to the Leases or other properties pooled or unitized together

   therewith on a monthly basis (collectively, the “Royalties”). A significant portion of the amount

   the Debtors owe in Royalties has been held in suspense by the Debtors for several years, because

   the amount owed to the Royalty Interest Owner is de minimus, because the Debtors no longer have

   the correct contact information for the Royalty Interest Owner, or because the Debtors do not

   otherwise have the requisite information necessary to make payment. Accordingly, by the O&G

   Obligations Motion, the Debtors request authority to pay prepetition amounts due on account of

   Royalties owed on a current basis, in an amount totaling approximately $6,400, and to continue to

   make such payments during the course of these Chapter 11 Cases in the ordinary course of

   business.




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            71.     In addition, the Debtors have entered into certain assignments of the Leases,

   thereby granting an interest in a share of the production from the Debtors’ producing wells that

   burdens the Debtors’ Working Interests in the Leases (collectively, the “Overriding Royalty

   Interests”). The Debtors are obligated to remit to the owners of the Overriding Royalty Interests

   (collectively, the “Overriding Royalty Interest Owners”) their share of the proceeds related to

   the sale of hydrocarbons attributable to the Overriding Royalty Interests on a monthly basis. The

   Debtors estimate that approximately $1,120 is owed on account of Overriding Royalty Interests

   for the prepetition period. By the O&G Obligations Motion, the Debtors request authority to pay

   all prepetition amounts due on account of Overriding Royalty Interests and to continue to make

   such payments during the course of these Chapter 11 Cases in the ordinary course of business.

            72.     In addition to the Royalties and Overriding Royalty Interests, the Debtors are

   parties to certain JOAs, under which third parties own a Working Interest in wells operated by the

   Debtors (the “Working Interest Owners” and, together with the Royalty Interest Owners and the

   Overriding Royalty Interest Owners, the “Interest Owners”). Pursuant to the JOAs, the Working

   Interest Owners reimburse the Debtors for the Working Interest Owners’ share of the expenditures

   of the wells through the payment of “joint-interest billings” (“JIBs”). The Debtors, in turn, pay

   the Working Interest Owners their proportionate share of the well’s revenues from the sale of

   hyrdocarbons (the “Working Interest Owner Payments” and, together with the Royalties and

   Overriding Royalty Interests, the “Royalty Payments”).2 Like with payments owed to many of

   the Royalty Interest Owners, a significant portion of the amount the Debtors owe to Working




   2
       In the ordinary course of business, the Debtors and the other parties to the JOAs often agree to net expenses
       against revenues. Therefore, occasionally nettings occur in which the Debtors pay the Interest Owners for their
       share of revenues net of the Debtors’ reimbursement for operating costs or, conversely, the Interest Owners
       reimburse the Debtors for their share of operating costs net of the revenues owed to them. In such cases, netting
       is beneficial to the JOA parties for administrative convenience.


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   Interest Owners has been held in suspense by the Debtors for several years in some instances,

   either because the amount owed to the Working Interest Owner is de minimus or because the

   Debtors no longer have the correct contact information for the Working Interest Owner.

   Accordingly, by the O&G Obligations Motion, the Debtors request authority to pay prepetition

   amounts due to Working Interest Owners on a current basis, in an amount totaling $10,300, and to

   continue to make such payments during the course of these Chapter 11 Cases in the ordinary course

   of business.

            73.      In the ordinary course of business, the Debtors also incur severance taxes (the

   “Taxes”) that must be remitted to the states of Texas, Louisiana and Arkansas for oil and gas

   production each month. Generally, purchasers of the Debtors’ oil pay the Taxes and then deduct

   the corresponding amount from the amount they owe the Debtors on account of the purchased oil.

   The Debtors also pay certain severance taxes directly to the Texas Comptroller of Public Accounts,

   which average approximately $2,000 per month.3 By the O&G Obligations Motion, the Debtors

   are seeking authority to continue to pay (or deduct, as applicable) the Taxes.

            74.      The Debtors also pay transportation, gathering, dehydration, compression,

   processing and service charges (the “Gathering and Processing Charges”) in connection with

   the sale of their oil and gas production each month. Similar to the Taxes described above, the

   Gathering and Processing Charges incurred in the Debtors’ oil production are paid by oil

   purchasers and then deducted from the amount of proceeds remitted to the Debtors. The Debtors

   estimate that approximately between approximately $5,600 in Gathering and Processing Charges

   is deducted from oil and natural gas production revenues on a monthly basis. By the O&G




   3
       The amount of Taxes due varies greatly based on the applicable tax rates, the price of gas or oil, and the volume
       produced.


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   Obligations Motion, the Debtors are seeking authority to continue to deduct the Gathering and

   Processing Charges.

            75.   Amounts owed on account of Royalty Payments, Taxes, and Gathering and

   Processing Charges (collectively, the “Interest Owner Payments”) are calculated as the Debtors

   account for revenue from oil and natural gas extracted from the properties subject to the Leases.

   The Debtors typically receive payments for sales of its hydrocarbon products thirty (30) to sixty

   (60) days after production. Interest Owner Payments are generally remitted in the calendar month

   following receipt of payment from the purchasers. Accordingly, the Debtors still owe Interest

   Owner Payments for December and January production. By the O&G Obligations Motion, the

   Debtors request authority to pay all prepetition Interest Owner Payments that are due and owing

   and to continue to make such payments in the ordinary course of business.

            76.   In connection with the Debtors’ daily operation of the Leases, the Debtors incur

   numerous obligations derived from both the Leases themselves and from other agreements

   governing leasehold operations (the “Lease Maintenance Payments”). The Lease Maintenance

   Payments are described more fully in the O&G Obligations. In general, the Debtors do not believe

   that they currently owe any Lease Maintenance Payments, with the exception of a Surface Use

   Payment and State Regulatory Fee (both as defined in the O&G Obligations Motion). Many of

   the amounts due for Lease Maintenance Payments, if any, will cover both prepetition and post-

   petition expenses. Given the sheer number of such agreements governing the Lease Maintenance

   Payments and the Debtors’ limited staff, separating the prepetition portions from the post-petition

   portions of each individual invoice would be unduly burdensome. Accordingly, by the O&G

   Obligations Motion, the Debtors are seeking authority to pay any outstanding Lease Maintenance




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   Payments and to continue to make such payments in the ordinary course of business post-Petition

   Date.

            77.   The Debtors believe that payment of the Interest Owner Payments, the Lease

   Maintenance Payments and the ongoing JIBs (together, the “Obligations”) is necessary to

   maintain the Debtors’ rights under the Leases and to ensure that operations continue on an

   uninterrupted basis. If the Debtors are unable to pay the Obligations as they come due, the Debtors’

   operations could be severely impacted and production may cease, which would jeopardize the

   Debtors’ efforts to successfully reorganize its affairs.

            78.   The failure to pay the Obligations on a timely basis would also expose the Debtors

   and their properties to additional claims, liens and encumbrances to the detriment of all parties in

   interest. Failure to pay the Interest Owners could result in penalties and interest, turnover actions,

   conversion and constructive trust claims, litigation, and, in some instances, potential forfeiture and

   removal as operator. Similarly, the Debtors’ failure to satisfy their Lease Maintenance Payments

   could have material adverse consequences for the Debtors, including the Debtors’ removal as

   operator and the assertion of significant secured claims (statutory and/or contractual) against the

   property of the Debtors’ estates. Accordingly, the Debtors respectfully request that the Court grant

   the O&G Obligations Motion.

            J.    Insurance Motion

            79.   By the Insurance Motion, the Debtors seek entry of an order, substantially in the

   form attached hereto as Exhibit A to the Insurance Motion, authorizing, but not directing, the

   Debtors to: (a) continue existing insurance coverage entered into prepetition and satisfy payment

   obligations related thereto; (b) renew, amend, supplement, extend, or purchase insurance coverage

   in the ordinary course of business; (c) honor the terms of the Premium Finance Agreement (as




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   defined herein) and pay premiums thereunder; (d) modify the automatic stay with respect to the

   Debtors’ workers’ compensation program; and (e) grant related relief.

                      i.       The Insurance Policies

             80.      In the ordinary course of business, the Debtors maintain eight insurance policies

   that are administered by seven third-party insurance carriers (collectively, the “Insurance

   Carriers”). These policies provide coverage for, among other things, the Debtors’ general

   liability, automobile liability, worker’s compensation, umbrella coverage, control of well,

   management liability, property, and key man (collectively, the “Insurance Policies”). The Debtors

   pay an aggregate amount of approximately $77,443.91 on account of annual premiums for the

   Insurance Policies. A schedule of the Insurance Policies is attached as Exhibit B to the Insurance

   Motion.4

             81.      Certain of the Insurance Policies, including general liability, umbrella coverage,

   control of well and property policies are financed through a premium financing agreement with

   Bank Direct Capital Finance, a division of Texas Capital Bank, N.A., a copy of which is attached

   as Exhibit C (the “Premium Finance Agreement”). Pursuant to the Premium Finance

   Agreement, the Debtors are required to make ten monthly premium payments of approximately

   $3,152.19 beginning on September 1, 2021. As of the Petition Date, there is approximately

   $12,608.76 outstanding on account of the Premium Finance Agreement, some or all of which will

   come due during the pendency of these Chapter 11 Cases.

             82.      Continuation of the Insurance Policies and the Premium Finance Agreement and

   entry into new insurance policies is essential to the preservation of the value of the Debtors’



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       The Debtors request authority to honor obligations and renew all insurance policies, as applicable, regardless of
       whether the Debtors inadvertently fail to include a particular insurance policy on Exhibit B to the Insurance
       Motion.


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   businesses and operations. Moreover, in many instances, insurance coverage is required by the

   regulations, laws, and contracts that govern the Debtors’ commercial activities, including the

   Office of the United States Trustee’s (the “U.S. Trustee”) requirement that a debtor maintain

   adequate coverage given the circumstances of its chapter 11 case. Accordingly, to ensure

   uninterrupted coverage, the Debtors request authority to maintain their existing Insurance Policies,

   pay prepetition obligations related thereto, and enter into new insurance policies and premium

   financing agreements, as applicable, in the ordinary course of business.

                      ii.    Worker’s Compensation Program.

             83.      The Debtors maintain a workers’ compensation insurance policy for employees at

   the levels required by laws in the states in which the Debtors operate (collectively, the “Workers’

   Compensation Program”). As of the Petition Date, there are no known workers’ compensation

   claims.        However, to the extent any of the employees assert claims under the Workers’

   Compensation Program, the Debtors request that the court modify the automatic stay under section

   362 of the Bankruptcy Code to permit the employees to proceed with their claims under the

   Workers’ Compensation Program. This required modification of the automatic stay pertains solely

   to claims under the Workers’ Compensation Program.

                      iii.   The Debtors’ Insurance Brokers.

             84.      The Debtors obtain their Insurance Policies through two different insurance

   brokers, Upstream Brokers and Lockton Companies, LLC (together, the “Insurance Brokers”).

   The Insurance Brokers assist the Debtors in obtaining comprehensive insurance coverage for their

   operations in the most cost-effective manner, negotiating policy terms, provisions, and premiums,

   assisting the Debtors with claims, and providing ongoing support throughout the applicable policy

   periods. As of the Petition Date, the Debtors do not believe that they owe any amounts to the




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   Insurance Brokers on account of fees or any other prepetition obligations. Nevertheless, out of an

   abundance of caution, the Debtors seek authority to honor any amounts owed to the Insurance

   Brokers in the ordinary course of business on a postpetition basis to ensure uninterrupted coverage

   under the Insurance Policies.

   Dated: February 4, 2022


                                                By: /s/ John Hayes
                                                   John Hayes




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